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10   Facsimile: (214) 692-6255
11                            UNITED STATES BANKRUPTCY COURT
12                             CENTRAL DISTRICT OF CALIFORNIA
                                     SANTA ANA DIVISON
13
      In re:                                       Case No. 8:23-bk-10571-SC
14
      THE LITIGATION PRACTICE GROUP, PC,           Adv. Proc. No. 8:23-ap-01046-SC
15
16      Debtor.                                    Chapter 11

17
18
19    RICHARD A. MARSHACK,                         REPLY IN SUPPORT OF MOTION BY
      Chapter 11 Trustee,                          DEFENDANTS ENG TAING AND TOUZI
20                                                 CAPITAL, LLC TO DISMISS
               Plaintiff,                          COMPLAINT UNDER FED. RULE BANK.
21                                                 PROC. 7012 AND FEDERAL RULE OF
                                                   CIVIL PROCEDURE 12(B)(6) AND
               v.                                  MOTION TO STRIKE DECLARATIONS
22
23    TONY DIAB, an individual; DANIEL S.
      MARCH, an individual; ROSA BIANCA
24    LOLI, an individual; LISA COHEN, an          Judge: Hon. Scott C. Clarkson
      individual; WILLIAM TAYLOR CARSS, an
25    individual; ENG TAING, an individual; HENG
      TAING, an individual; MARIA EEYA TAN,
26    an individual; JAKE AKERS, an individual;    DATE: SEPTEMBER 14, 2023
27    HAN TRINH, an individual; JAYDE TRINH,       TIME: 11:00 A.M.
      an individual; WES THOMAS, an individual;    PLACE: COURTROOM 5C
28    SCOTT JAMES EADIE, an individual;                   411 WEST FOURTH STREET
                                                          SANTA ANA, CA 92701
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1    JIMMY CHHOR, an individual; DONGLIANG
     JIANG, an individual; MAX CHOU, an
2    individual; OAKSTONE LAW GROUP PC;
3
4
5    GREYSON LAW CENTER PC; PHOENIX
     LAW, PC; MAVERICK MANAGEMENT
6    GROUP, LLC; LGS HOLDCO, LLC;
7    CONSUMER LEGAL GROUP, P.C.;
     VULCAN CONSULTING GROUP LLC; BAT
8    INC. d/b/a COAST PROCESSING; PRIME
     LOGIX, LLC; TERACEL BLOCKCHAIN
9    FUND II LLC; EPPS; EQUIPAY;
     AUTHORIZE.NET; WORLD GLOBAL;
10   OPTIMUMBANK HOLDINGS, INC. d/b/a
11   OPTIMUM BANK; MARICH BEIN, LLC;
     BANKUNITED, N.A.; REVOLV3, INC.;
12   FIDELITY NATIONAL INFORMATION
     SERVICES, INC. d/b/a FIS; WORLDPAY,
13   LLC; WORLDPAY GROUP; MERIT FUND,
     LLC; GUARDIAN PROCESSING, LLC;
14   PAYLIANCE, LLC; TOUZI CAPITAL, LLC;
15   SEAMLESS CHEX INC; DWOLLA, INC.;
     STRIPE, INC.; and DOES 1 through 100,
16   inclusive,

17       Defendants.
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 1           Pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(6) made applicable to this

 2 proceeding under Federal Bankruptcy Rule of Procedure 7012(b), Defendants Eng Taing (“Mr.
 3 Taing”) and Touzi Capital, LLC (“Touzi”) (collectively, “Touzi Defendants”) hereby file this Reply
 4 (“Reply”) in Support of their Motion to Dismiss (“Motion”) [Dkt. No. 96] the claims alleged against
 5 them in Plaintiff Richard A. Marshack’s (“Plaintiff”) Amended Complaint (“Complaint”) [Dkt. No.
 6 62], and respectfully state as follows:
 7                                                      I.

 8                                                SUMMARY

 9           This Court’s charge is simple: reviewing the four paragraphs in the Complaint in which Touzi
10 Defendants are mentioned to determine whether sufficient allegations have been pleaded against
11 them. See Complaint at ⁋⁋ 59, 60, 61, and 71.
12           In response to Touzi Defendants’ Motion, Plaintiff attempts to conflate and attribute the
13 allegations pleaded against other Defendants to Touzi Defendants. In support, Plaintiff’s Response
14 asserts new “alter ego” allegations, not included in the Complaint. Further, Plaintiff attaches extrinsic
15 declarations, which are not properly considered in a 12(b)(6) analysis and do not remedy the
16 Complaint’s failure to detail the factual or legal basis for fraud allegations. See Fed. R. Civ. P.
17 12(b)(6). Therefore, this Court should strike the declarations and, as further set forth in the Motion,
18 dismiss Plaintiff’s claims (in whole or in part) against Touzi Defendants under Rule 12(b)(6), as
19 Plaintiff has not properly pleaded a factual basis for suit against these defendants, and/or under the
20 doctrine of in pari delicto.
21                                                     II.
22                                  ARGUMENTS AND AUTHORITIES
23 A.        Extrinsic Evidence is not Considered for Rule 12(b)(6) Motion
24           As set forth in Section III of the Motion, “a complaint must contain sufficient factual matter,
25 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.
26 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To plead fraud with
27 particularity, the allegations must be specific enough to give defendants notice of the particular
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 1 misconduct, including time, dates, places, benefits received, and other details of the alleged fraudulent
 2 activity. Fed. R. Civ. P. 9(b); Fed. R. Bankr. P. 7009. In its analysis, the court considers the four
 3 corners of the complaint. The court is not bound by conclusory statements, statements of law, and
 4 unwarranted inferences cast as factual allegations. Twombly, 550 U.S. at 555. “[A] plaintiff’s
 5 obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and
 6 conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Id. A “court
 7 may not consider any material beyond the pleadings in ruling on a Rule 12(b)(6) motion.” Id .at 55-
 8 57.
 9 B.         Plaintiff’s Extrinsic Declarations are not Probably Considered and Should be Stricken
              from the Record.
10
              In support of his Response [Doc. 159], Plaintiff does not set forth a proposed amended
11
12 complaint that would correct the current deficiencies in pleading. See generally, Response. Instead,
13 Plaintiff ignores the four corners standard and attaches his counsel’s declaration [Doc. 159-2] and a
14 declaration from a former defendant that has been nonsuited [Doc. 159-1] (collectively, the
15 “Declarations”). Such extrinsic evidence is not properly considered in a Rule 12(b)(6) analysis (with
16                               1
     some inapplicable exceptions ) and may be ignored by the Court. To the extent necessary, Touzi
17
     Defendants object to the consideration of the Declarations and hereby move to strike the Declarations
18
     from the record.
19
20 C.         Plaintiff’s Factual Allegations Pleaded Against Other Defendants are not Attributable
              to Touzi Defendants.
21
              The Court’s 12(b)(6) analysis consists of reviewing the seven instances Touzi Defendants are
22
     mentioned in the Complaint. See Complaint at ⁋⁋ 59, 60, 61, and 71; Fed. R. Civ. P. 12(b); Twombly,
23
     550 U.S. at 555. Plaintiff’s Response attempts to dodge the minimum requirements for pleading
24
25
26            1
                       In certain instances, the court may consider documents attached to the complaint, documents
27   incorporated by reference in the complaint, or matters of judicial notice. Additionally, if the movant sets forth evidence
     outside the pleadings, the court must normally convert the 12(b)(6) motion into a Rule 56 motion for summary judgment,
28   and it must give the nonmoving party an opportunity to respond. Fed. R. Civ. P. 12(d). Neither instance applies here,
     where the nonmovant set forth extrinsic declarations and attachments outside the pleadings.
                                                                 2
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 1 against these two Defendants by now asserting new “alter ego” allegations – which have not been
 2 pleaded. Specifically, Plaintiff now claims the actions of other Defendants Oakstone, Guardian
 3 Processing, Teracel, and Greyson and non-party PECC.2 See Response at ⁋⁋ 3-4, 9, 14, 17. Nowhere
 4 in the Complaint does Plaintiff allege these Defendants (or the non-party) are alter egos of Touzi or
 5 Mr. Taing. Compare Complaint at ⁋⁋ 59, 60, 61, and 71. Therefore, the allegations pleaded against
 6 these Defendants cannot be ascribed to Touzi Defendants to correct the current deficiencies and Touzi
 7 Defendants have not been provided with the particularity required for pleading (especially concerning
 8 the four causes of action based upon fraud). See Fed. R. Civ. P. 9(b); Fed. R. Bankr. P. 7009.
 9 D.       At Least Some of Plaintiff’s Claims are barred by the Doctrine of In Pari Delicto.

10          Touzi Defendants hereby withdraw without prejudice their argument based on the doctrine of

11 in pari delicto defense relating to the Trustee’s causes of action based on avoidance of fraudulent
12 conveyances under the Bankruptcy Code. However, with respect to those causes of action that Trustee
13 seeks relief against Touzi Defendants which derives from state law, such as cause of actions based on
14 state law which the Bankruptcy Code confers standing upon the Trustee, Touzi Defendants contend
15 that the in pari delicto defense set forth in the Motion (pp. 6-11) applies. See, e.g., In re Tootian
16 (Goldman v. Dardashti), 634 B.R. 361, 374-376 (Bankr. C.D. Cal. 2021).
17                                                        IV.

18                                                 CONCLUSION

19          For these reasons, Plaintiff still failed to meet his burden to state a claim for which relief may

20 be granted against Touzi Defendants. Accordingly, Touzi Defendants respectfully request the Court
21 (i) strike the Declarations from the record, (ii) grant Touzi Defendants’ Motion to Dismiss without
22 leave to amend, (iii) dismiss the claims pleaded against Touzi Defendants with prejudice (in whole
23 or in part, and (iv) grant any and all further relief to which each may be entitled.
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            2
                    PECC is not a defendant and is not mentioned in the Complaint.
                                                            3
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1 Dated: September 7, 2023.             Respectfully submitted,

2                                       /s/ Daniel H. Reiss
                                        Daniel H. Reiss
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9                                       Facsimile: (214) 692-6255

10                                      ATTORNEYS FOR DEFENDANTS ENG TAING
                                        AND TOUZI CAPITAL, LLC
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                                    PROOF OF SERVICE OF DOCUMENT
  1
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 2818 La Cienega Avenue, Los Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled REPLY IN SUPPORT OF MOTION BY
      DEFENDANTS ENG TAING AND TOUZI CAPITAL, LLC TO DISMISS COMPLAINT UNDER FED.
  4
      RULE BANK. PROC. 7012 AND FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) AND MOTION TO
      STRIKE DECLARATIONS will be served or was served (a) on the judge in chambers in the form and
  5
      manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On September 7, 2023, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:
  9            Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
               Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
 10            Leslie A Cohen leslie@lesliecohenlaw.com,
                jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
 11            Michael T Delaney mdelaney@bakerlaw.com, TBreeden@bakerlaw.com
               Christopher Ghio christopher.ghio@dinsmore.com,
 12             nicolette.murphy@dinsmore.com;karina.reyes@dinsmore.com;deamira.romo@dinsmore.com
               Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
 13            Richard H Golubow rgolubow@wghlawyers.com,
                jmartinez@wghlawyers.com;svillegas@wghlawyers.com
 14            Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
               David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
 15            Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
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 16            Richard A Marshack (TR) pkraus@marshackhays.com,
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 17            Kenneth Misken Kenneth.M.Misken@usdoj.gov
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 18            Teri T Pham tpham@epgrlawyers.com, ttpassistant@epglawyers.com;dle@epglawyers.com
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 19            Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
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 20            Jonathan Serrano jonathan.serrano@dinsmore.com
               Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;howard-steinberg-
 21             6096@ecf.pacerpro.com
               Andrew Still astill@swlaw.com, kcollins@swlaw.com
 22            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
               Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com
 23
      2. SERVED BY UNITED STATES MAIL: On September 7, 2023, I served the following persons and/or
 24   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 25   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 26
      None.
 27                                                                           Service information continued on attached page

 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on September 7, 2023, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4   None.

  5   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  6
       September 7, 2023                      D. Woo                                     /s/ D. Woo
  7    Date                            Type Name                                         Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
